                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                           ____________
No. 25-5037                                                      September Term, 2024
                                                                             1:25-cv-00412-RC
                                                            Filed On: April 7, 2025
Cathy A. Harris, in her personal capacity and
in her official capacity as Member of the Merit
Systems Protection Board,

                  Appellee
         v.

Scott Bessent, in his official capacity as
Secretary of the Treasury, et al.,

                  Appellants

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Consolidated with 25-5055
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No. 25-5057
                                                                           1:25-cv-00334-BAH
Gwynne A. Wilcox,

                  Appellee
         v.

Donald J. Trump, in his official capacity as
President of the United States and Marvin E.
Kaplan, in his official capacity as Chairman of
the National Labor Relations Board,

                  Appellants

         BEFORE:           Srinivasan*, Chief Judge, and Henderson**, Millett, Pillard, Wilkins,
                           Katsas**, Rao**, Walker**, Childs, Pan, and Garcia, Circuit Judges

                                              ORDER

       Upon consideration of the petitions for hearing en banc, which include motions
for en banc reconsideration and vacatur of the court’s March 28, 2025 order granting
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the government’s motions for a stay pending appeal, and the combined opposition
thereto, which includes a request for a 7-day stay if the motions are granted, it is

      ORDERED that the motions for en banc reconsideration and vacatur be granted
and the government’s motions for a stay pending appeal be denied.

        In Humphrey’s Executor v. United States, 295 U.S. 602 (1935), and Wiener v.
United States, 357 U.S. 349 (1958), the Supreme Court unanimously upheld removal
restrictions for government officials on multimember adjudicatory boards. While two
laws governing removal restrictions for single heads of agencies exercising executive
policymaking and enforcement powers have been held unconstitutional, see Seila Law
v. CFPB, 591 U.S. 197 (2020); Collins v. Yellen, 594 U.S. 220 (2021), the Supreme
Court has repeatedly stated that it was not overturning the precedent established in
Humphrey’s Executor and Wiener for multimember adjudicatory bodies. Instead, the
Supreme Court has, in its own words, left that precedent “in place[.]” Seila Law, 591
U.S. at 215 (2020); see id. at 228 (“not revisit[ing] Humphrey’s Executor”); Collins, 594
U.S. at 250–251 (2021) (recognizing that Seila Law did “not revisit [] prior decisions”)
(quoting Seila Law, 591 U.S. at 204); see also Morrison v. Olson, 487 U.S. 654, 687
(1988) (in case involving restrictions on removal of an inferior officer, recognizing that
Humphrey’s Executor remains good law); see generally Free Enter. Fund v. Public Acct.
Oversight Bd., 561 U.S. 477, 483 (2010) (in case involving multimember board,
declining to “reexamine” Humphrey’s Executor); id. at 501 (“[W]e do not * * * take issue
with for-cause limitations in general[.]”).

        The Supreme Court has repeatedly told the courts of appeals to follow extant
Supreme Court precedent unless and until that Court itself changes it or overturns it. If
a precedent of the Supreme Court “has direct application in a case,” lower courts
“‘should follow the case which directly controls,’” leaving to the Supreme Court “‘the
prerogative of overruling its own decisions.’” Mallory v. Norfolk S. Ry. Co., 600 U.S.
122, 136 (2023) (quoting Rodriguez de Quijas v. Shearson/American Express, Inc., 490
U.S. 477, 484 (1989)). That rule governs “even if the lower court thinks the precedent
is in tension with ‘some other line of decisions.’” Mallory, 600 U.S. at 136 (quoting
Rodriguez de Quijas, 490 U.S. at 484); see also Agostini v. Felton, 521 U.S. 203, 237
(1997) (“We do not acknowledge, and we do not hold, that other courts should conclude
our more recent cases have, by implication, overruled an earlier precedent.”).

       Circuit precedent compels the same result. See, e.g., National Security Archive
v. CIA, 104 F.4th 267, 272 n.1 (D.C. Cir. 2024) (“This Court is charged with following
case law that directly controls a particular issue[.]”); Shea v. Kerry, 796 F.3d 42, 54
(D.C. Cir. 2015) (quoting Agostini, 521 U.S. at 237); Sierra Club v. E.P.A., 322 F.3d
718, 725 (D.C. Cir. 2003) (quoting Rodriguez de Quijas, 490 U.S. at 484).

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        The Supreme Court’s repeated and recent statements that Humphrey’s Executor
and Wiener remain precedential require denying the government’s emergency motions
for a stay pending appeal. The government, in fact, has acknowledged a lack of clarity
in the law. See Oral Arg. Tr. 24:25–25:3 (“I’m not saying that [the Supreme Court has
been] clear.”); 10:24–11:5 (“[T]he Supreme Court has left the lower courts in something
of a tough spot[.]”); 84:16–23 (There is, “at a minimum, a very substantial question” and
“reasonable minds can differ” about the scope of Humphrey’s Executor today.);
88:17–18 (“[T]here’s some uncertainty” in the wake of Collins.). In addition, at both
parties’ request, the court has set a highly expedited schedule for the merits of these
appeals that will allow the cases to be resolved in short order.
        We hereby vacate the March 28, 2025 order staying the district courts’ final
judgments and permanent injunctions in these cases. In light of the precedent in
Humphrey’s Executor and Wiener concerning multimember adjudicatory bodies, the
government’s motions for a stay pending appeal are denied. The government has not
demonstrated the requisite “strong showing that [it] is likely succeed on the merits” of
these two appeals. Nken v. Holder, 556 U.S. 418, 434 (2009). The government
likewise has not shown a strong likelihood of success on the merits of its claim that
there is no available remedy for Harris or Wilcox, or that allowing the district court's
injunctions to remain in place pending appeal is impermissible. See Panel Order
Granting Stay at 41-46 (Millett, J., dissenting). Nor has it demonstrated irreparable
injury because the claimed intrusion on presidential power only exists if Humphrey’s
Executor and Wiener are overturned. See Wiener, 357 U.S. at 356 (“[N]o such power”
to remove a predominantly adjudicatory board official “is given to the President directly
by the Constitution[.]”); Humphrey’s Executor, 295 U.S. at 629. It is
       FURTHER ORDERED that the request for a 7-day stay be denied.
                                          Per Curiam
                                                            FOR THE COURT:
                                                            Clifton B. Cislak, Clerk

                                                    BY:     /s/
                                                            Laura M. Morgan
                                                            Deputy Clerk


* Chief Judge Srinivasan fully joins this order, but he would grant the government’s request to
stay this order for 7 days to permit the government to seek relief from the Supreme Court.



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** Circuit Judges Henderson, Katsas, Rao, and Walker dissent from this order, and they would
also grant the government’s request to stay this order for 7 days to permit the government to
seek relief from the Supreme Court. Separate dissenting statements of Circuit Judges
Henderson, Rao, and Walker are attached. Circuit Judges Henderson, Katsas, and Walker join
in the statement of Circuit Judge Rao. Circuit Judge Henderson joins in the statement of Circuit
Judge Walker.




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KAREN LECRAFT HENDERSON, Circuit Judge, dissenting:

     We do the parties (especially a functioning executive
branch) no favors by unnecessarily delaying Supreme Court
review of this significant and surprisingly controversial aspect
of Article II authority. Only the Supreme Court can decide the
dispute and, in my opinion, the sooner, the better.
     RAO, Circuit Judge, dissenting: President Donald Trump
removed two principal officers wielding significant executive
power: Cathy Harris of the Merit Systems Protection Board and
Gwynne Wilcox of the National Labor Relations Board. The
district court held the removals were unlawful and imposed
unprecedented and far reaching injunctions, ordering cabinet
secretaries and other Executive Branch officials to treat Harris
and Wilcox as if they were never removed. A panel of this court
wisely stayed those orders pending appeal. A majority of the
en banc court now vacates the panel’s order and denies the stay
pending appeal.

     The government raises two independent grounds for
granting a stay. The en banc majority briefly discusses the first:
the lawfulness of the President’s removal of these officers. In
my view, a stay is warranted on this ground. But even
accounting for disagreement as to the continuing validity of
Humphrey’s Executor, the district court’s remedial overreach
independently justifies a stay. Because the majority denies the
stay, it should have explained why the government is not likely
to prevail on its argument that the injunctions exceed the
court’s equitable authority. Instead, the order devotes a single
sentence to this question, likely because these remedies have
no historical basis and put the courts on a collision course with
the President over his exercise of core executive power. I
respectfully dissent.

                              ***

      As to the constitutional question, the government is likely
to succeed because the President’s removal of Harris and
Wilcox falls within his Article II authority. The Constitution
vests all executive power in a single President. U.S. CONST. art.
II, § 1. The President has both the power and the responsibility
to supervise and direct Executive Branch officers. Id. § 3
(requiring the President to “take Care that the Laws be
faithfully executed”). To carry out this responsibility, the
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President must be able to remove officers at will. “Since 1789,
the Constitution has been understood to empower the President
to keep … officers accountable—by removing them from
office, if necessary.” Free Enter. Fund v. Pub. Co. Acct.
Oversight Bd., 561 U.S. 477, 483 (2010) (citing Myers v.
United States, 272 U.S. 52 (1926)); see also Seila Law LLC v.
CFPB, 140 S. Ct. 2183, 2191 (2020) (explaining that without
the removal power “the President could not be held fully
accountable for discharging his own responsibilities”) (cleaned
up).

     The en banc majority urges that we must continue to
follow Humphrey’s Executor v. United States, 295 U.S. 602
(1935), and Wiener v. United States, 357 U.S. 349 (1958),
which held Congress may impose limits on the President’s
ability to remove officers of some so-called independent
agencies. Although those cases have not been formally
overruled, a series of recent Supreme Court decisions has
substantially eroded them, as Judge Walker explained. See
Harris v. Bessent, No. 25-5037, 2025 WL 980278, at *7–13
(D.C. Cir. Mar. 28, 2025) (Walker, J., concurring); see also id.
at *21–23 (Henderson, J., concurring) (concluding “reasonable
minds can—and often do—disagree about the ongoing vitality
of the Humphrey’s exception”). Under Article II, “[t]he buck
stops with the President,” and he “therefore must have some
power of removing those for whom he cannot continue to be
responsible.” Free Enter. Fund, 561 U.S. at 493 (cleaned up).
While statutes provide for-cause removal protections for Harris
and Wilcox, these restrictions are likely unconstitutional
because they interfere with the President’s authority to remove
principal officers who execute the law.

    I will not elaborate on these points in this posture, as the
disagreement about the scope of the President’s removal power
was discussed at length in the panel opinions granting the stay.
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     That brings us to the second ground for granting a stay
pending appeal: the district court’s expansive and
unprecedented injunctions. Since the panel majority granted
the stay on constitutional grounds, it had no need to evaluate
the likelihood the government would succeed on its challenge
to the injunctive remedies. See Harris, 2025 WL 980278, at *2
n.10 (Walker, J., concurring). The en banc majority, however,
is denying the stay and therefore should at least have explained
why the government’s challenge to the remedy fails. Even if
the majority is right that Harris and Wilcox were unlawfully
removed under current Supreme Court precedent, there is a
wholly separate question of whether reinstatement, effectuated
by enjoining scores of Executive Branch officials, is the proper
remedy.

     In its rush to vacate the panel’s stay and get Harris and
Wilcox back to work, the en banc majority essentially ignores
this question and assumes Harris and Wilcox may be restored
to their offices through a judicially imposed fiction—namely,
injunctions directing agency officials to treat Harris and
Wilcox as though they remain in office.

     The district court’s injunctions present difficult and novel
questions about the remedial authority of the Article III courts
in the context of the President’s exercise of his Article II
powers. See Dellinger v. Bessent, No. 25-5028, 2025 WL
559669, at *12 (D.C. Cir. Feb. 15, 2025) (Katsas, J., dissenting)
(noting the “extraordinary character” of an order “direct[ing]
the President to recognize and work with an agency head whom
he has already removed”). The government is likely to succeed
on its remedial challenge because the injunctive relief
concocted by the district court is wholly unprecedented and
transgresses historical limits on our equitable authority.
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     It is worth recounting the broad sweep of the injunctions
imposed here. Harris and Wilcox are no longer in office. The
district court purported to reinstate these officers by simply
declaring they were never removed in the first place and
ordering Executive Branch officials to play along. For Wilcox,
the district court ordered the Chairman of the NLRB “and his
subordinates, agents, and employees” to refrain “from
removing [Wilcox] from her office without cause or in any way
treating [Wilcox] as having been removed from office, from
impeding in any way her ability to fulfill her duties as a
member of the NLRB, and from denying or obstructing her
authority or access to any benefits or resources of her office.”
Wilcox v. Trump, No. 25-334, 2025 WL 720914, at *18
(D.D.C. Mar. 6, 2025) (emphasis added). It further ordered
these same officials to provide Wilcox access to government
facilities and equipment to carry out her duties. Id. The
injunction for Harris is similarly novel, prohibiting the
Secretary of the Treasury and numerous other Executive
Branch officers from “removing Harris from her office without
cause or in any way treating her as having been removed
without cause.” Harris v. Bessent, No. 25-412, 2025 WL
679303, at *16 (D.D.C. Mar. 4, 2025) (emphasis added). The
order enjoins those same officials from “placing a replacement
in Harris’s position, or otherwise recognizing any other person
as a member of the Merit Systems Protection Board in Harris’s
position.” Id.

     These injunctions are formally directed at Executive
Branch officials, not the President. But in reality, their
prohibitions include actions only the President may take. By
what remedial fiction can the district court enjoin the Chairman
of the NLRB or the Treasury Secretary from removing officers
they have no power to remove? No one suggests anyone other
than the President has authority to remove these principal
officers. By what remedial fiction can the district court enjoin
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executive officers from choosing a replacement for Harris?
Members of the Merit Systems Protection Board must be
appointed by the President with the advice and consent of the
Senate. See 5 U.S.C. § 1201. When a decision, like
appointment or removal, “is by Constitution or law conferred
upon [the President], … we are precluded from saying that it
is, in practical effect, the decision of someone else.” Franklin
v. Massachusetts, 505 U.S. 788, 825 (1992) (Scalia, J.,
concurring in part and concurring in the judgment). The
injunctions purport to enjoin the President’s subordinates,
directing them to disregard the President’s removal and to
refrain from taking actions within the President’s exclusive
constitutional and statutory powers. There is simply no
precedent for such expansive judicial directives against officers
of the Executive Branch wielding essential executive powers. 1

    These orders effectively reappoint officers removed by the
President and direct all other Executive Branch officials to treat
the removed officers as if they were still in office. Such
injunctive relief is beyond the scope of our equitable authority.
Federal courts have authority to issue only those equitable
remedies administered by the English Court of Chancery and
courts sitting in equity at the time of the Founding. See Grupo
Mexicano de Desarrollo, S.A. v. All. Bond Fund, Inc., 527 U.S.
308, 318–19 (1999) (“[T]he equity jurisdiction of the federal
courts is the jurisdiction in equity exercised by the High Court
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  Plaintiffs identify only two district court decisions enjoining
Presidential removal decisions. See Berry v. Reagan, No. 83-3182,
1983 WL 538, at *6 (D.D.C. Nov. 14, 1983); Mackie v. Bush, 809 F.
Supp. 144, 148 (D.D.C. 1993). We vacated Mackie as moot without
reaching the merits. Mackie v. Clinton, No. 93-5001, 1993 WL
498033, at *1 (D.C. Cir. Oct. 27, 1993). More to the point, both cases
directly contradict Supreme Court precedent recognizing courts lack
authority to enjoin the President. See Mississippi v. Johnson, 71 U.S.
(4 Wall.) 475, 501 (1866); Franklin, 505 U.S. at 802–03.
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of Chancery in England at the time of the adoption of the
Constitution and the enactment of the original Judiciary
Act …. The substantive prerequisites for obtaining an
equitable remedy … depend on traditional principles of equity
jurisdiction.”) (cleaned up); Boyle v. Zacharie, 31 U.S. (6 Pet.)
648, 658 (1832) (“[T]he settled doctrine of this court is, that the
remedies in equity are to be administered … according to the
practice of courts of equity in [England].”).

     Nothing in Anglo-American history supports the
injunctive relief granted by the district court and restored by
the en banc majority. Although the injunctions are nominally
directed at subordinate executive officials, their purpose and
effect are to restrain the President’s exercise of his
constitutional appointment and removal powers. But courts
have never possessed authority to “enjoin the President in the
performance of his official duties.” 2 Mississippi v. Johnson, 71
U.S. (4 Wall.) 475, 501 (1866); see also Franklin, 505 U.S. at
827 (Scalia, J., concurring) (describing this limitation as
“implicit in the separation of powers established by the
Constitution”).


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  The Supreme Court has left open the possibility that a court may
enjoin the President to discharge a ministerial duty, that is, one in
which the President has no discretion. See Johnson, 71 U.S. at 498
(reserving the question of whether “the President of the United States
may be required, by the process of this court, to perform a purely
ministerial act under a positive law”); Franklin, 505 U.S. at 802
(same). The President’s exercise of his appointment and removal
authority can in no way be denominated as “ministerial,” however,
as these powers are essential to his Article II power to control and
supervise “those who wield executive power on his behalf.” Seila
Law, 140 S. Ct. at 2191; see also Johnson, 71 U.S. at 499
(distinguishing ministerial duties from “purely executive and
political” duties).
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     Even indulging the fiction that the injunctions are aimed
only at subordinate executive officials, equitable remedies of
this kind still find no support in our history. At the Founding,
it appears to have been well-established that a court sitting in
equity had “no jurisdiction over the appointment and removal
of public officers.” 3 White v. Berry, 171 U.S. 366, 377 (1898)
(quoting In re Sawyer, 124 U.S. 200, 212 (1888)); see also
Bessent v. Dellinger, 145 S. Ct. 515, 517 (2025) (Gorsuch, J.,
dissenting). The lesson from history is clear: Federal courts
have no equitable authority to enjoin the removal or to mandate
the reinstatement of executive officers.

     Perhaps recognizing these limits on our equitable
authority, officers challenging their removals have generally
refrained from seeking injunctions mandating their
reinstatement. The removed officers have instead brought
backpay actions for damages. See, e.g., Wiener, 357 U.S. at
349–50; Humphrey’s Executor, 295 U.S. at 618; Myers, 272
U.S. at 106. The en banc majority binds itself to the mast of

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  Equitable remedies were unavailable because courts of law had
exclusive jurisdiction to determine title to public office. See In re
Sawyer, 124 U.S. 200, 212 (1888); Kalbfus v. Siddons, 42 App. D.C.
310, 319–21 (1914) (collecting English and American cases granting
mandamus to restore an unlawfully removed officer). Although the
Supreme Court has more recently stated that courts are “not totally
without authority to grant interim injunctive relief” directing the
reinstatement of wrongfully terminated federal employees, see, e.g.,
Sampson v. Murray, 415 U.S. 61, 63 (1974), such cases do not
necessarily raise the same constitutional concerns as judicial
reinstatement of an officer removed by the President. Even in cases
involving mere employees, the Court has warned that an injunction
will issue only upon a heightened showing. Id. at 83–84. Insofar as
these decisions go beyond the scope of equity jurisdiction at the time
of the Founding, they conflict with the Supreme Court’s more recent
holding in Grupo. See 527 U.S. at 318–19.
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Humphrey’s Executor and Wiener with respect to the
constitutional merits but says nothing about these precedents
on the question of remedies.

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     Finally, the district court and Judge Millett in her panel
dissent suggest Harris and Wilcox could secure a writ of
mandamus if injunctive relief were unavailable. But it is
extremely unlikely that mandamus could issue to reinstate
officers removed by the President.

     As a threshold matter, against whom would mandamus lie?
These cases seem to present two options: The court could issue
mandamus against the President to reinstate the officers, or it
could issue mandamus against everyone else in the Executive
Branch to act as if the President has reinstated the officers. The
district court here would apparently have done the latter,
directing various principal officers and their subordinates—but
not the President—to recognize that Harris and Wilcox remain
in office. 4 See Harris, 2025 WL 679303, at *15; Wilcox, 2025
WL 720914, at *16 n.22. A writ of mandamus, however, may
be issued only when an official violates a “clear duty to act.”
Muthana v. Pompeo, 985 F.3d 893, 910 (D.C. Cir. 2021). No
Executive Branch officer or employee, not even the Treasury

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  Although our decision in Swan v. Clinton contemplates that de facto
reinstatement via mandamus issued against Executive Branch
officials may be available, that determination was made in the
context of finding redressability for the purposes of standing. The
court denied relief on the merits, so it never imposed this
extraordinary relief. See 100 F.3d 973, 976–81, 988 (D.C. Cir. 1996);
see also Severino v. Biden, 71 F.4th 1038, 1042–43 (D.C. Cir. 2023)
(reaffirming Swan’s redressability analysis). Moreover, Swan says
nothing about when it would be appropriate to impose mandamus.
In any event, the en banc court is not bound by Swan’s analysis.
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Secretary or the Chairman of the NLRB, could have violated a
clear duty because no officer or employee removed Harris or
Wilcox—the President did. If mandamus were to issue against
these officers, there would be a complete mismatch between
the supposedly unlawful removal and the officers being
targeted with mandamus.

     That leaves the President. Judge Millett argued in dissent
that mandamus could issue against the President because he
“violated a non-discretionary statutory duty by firing Harris
and Wilcox without relevant justification.” See Harris, 2025
WL 980278, at *45 (Millett, J., dissenting). It is extremely
doubtful that mandamus could issue against the President.
While this court has at times claimed authority to issue writs of
mandamus against the President, I am aware of no case in
which we have taken this extraordinary step. To the contrary,
we have repeatedly declined to issue the writ “in order to show
the utmost respect to the office of the Presidency and to
avoid … any clash between the judicial and executive branches
of the Government.” Nat’l Treasury Emps. Union v. Nixon, 492
F.2d 587, 616 (D.C. Cir. 1974); see also Nat’l Wildlife Fed’n
v. United States, 626 F.2d 917, 928 (D.C. Cir. 1980) (declining
to issue mandamus against the President).

     Even if mandamus could lie against the President, it is
unlikely Harris and Wilcox could have established a “clear
right to relief.” Muthana, 985 F.3d at 910. Given the substantial
questions regarding whether Humphrey’s Executor remains
good law, it is hard to see how the plaintiffs could have shown
their removal from office “was so plainly and palpably wrong
as [a] matter of law that the writ should issue.” United States
ex rel. Chicago Great W. R. Co. v. Interstate Commerce
Comm’n, 294 U.S. 50, 61 (1935). Moreover, Harris and Wilcox
have failed to identify a single case in which mandamus has
been granted when an officer contests his removal by the
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President. At a minimum, the fact that such a remedy has never
been imposed, much less against the President, is good
evidence that Harris and Wilcox do not have a clear entitlement
to the writ.

     Furthermore, it is difficult to see how mandamus to
reinstate officers removed by the President could ever be
appropriate. “Although the remedy by mandamus is at law, its
allowance is controlled by equitable principles, and it may be
refused for reasons comparable to those” governing a court of
equity. United States ex rel. Greathouse v. Dern, 289 U.S. 352,
359 (1933) (cleaned up). For this court to order the
performance of executive acts vested exclusively in the
President would “at best create[] an unseemly appearance of
constitutional tension and at worst risk[] a violation of the
constitutional separation of powers.” Swan, 100 F.3d at 978;
see also Johnson, 71 U.S. at 499 (rebuffing the idea of ordering
the President to perform executive acts as “an absurd and
excessive extravagance”) (cleaned up). These constitutional
concerns render mandamus—an extraordinary writ—wholly
inappropriate in these removal cases.

                              ***

     The Constitution creates three co-equal departments of
government, each with an independent responsibility to
interpret and uphold the Constitution. While courts must
faithfully exercise their duty to say what the law is, in choosing
remedies, courts historically have afforded every measure of
respect to the President. Sound judgment demands that when
contemplating coercive process against the Executive, the
courts take account of the “enduring consequences upon the
balanced power structure of our Republic.” Youngstown Sheet
& Tube Co. v. Sawyer, 343 U.S. 579, 634 (1952) (Jackson, J.,
concurring).
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    Without considering the difficult questions regarding the
scope of the court’s equitable or legal authority, the en banc
majority blesses the district court’s unprecedented injunctions
and purports to reinstate principal officers ousted by the
President. In so doing, the majority threatens to send this court
headlong into a clash with the Executive. I respectfully dissent.
WALKER, Circuit Judge, dissenting:

     Having explained my views previously, I add only this: In
PHH v. CFPB, the en banc court said that the Supreme Court
would need to narrow Humphrey’s Executor in order to hold
that the CFPB’s removal restrictions are unconstitutional.1
Then, in Seila Law, the Supreme Court held those restrictions
unconstitutional.2 So by the PHH majority’s own reasoning,
the outcome in Seila Law depended on the Supreme Court
narrowing Humphrey’s Executor.

     Perhaps the members of today’s en banc majority
recognize that Humphrey’s Executor cannot be read as broadly
as it once could but disagree with the panel in this case about
how much it has been narrowed. If so, it is hollow and
hyperbolic for today’s majority to proclaim, “The Supreme

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   See 881 F.3d 75, 93 (D.C. Cir. 2018) (“There is nothing
constitutionally suspect about the CFPB’s leadership structure.
Morrison and Humphrey’s Executor stand in the way of any holding
to the contrary.”); id. at 113 (Tatel, J., concurring, joined by Millett,
J., and Pillard, J.) (“PHH is free to ask the Supreme Court to revisit
Humphrey’s Executor and Morrison, but that argument has no truck
in a circuit court of appeals.”); id. at 118 (Wilkins, J., concurring,
joined by Rogers, J.) (“the dissenters seek to overcome the precedent
upholding tenure protection for officers with significant quasi-
judicial and quasi-legislative responsibilities”).
   Similarly, in Free Enterprise Fund v. PCAOB, the majority said
the “bulk of the Fund’s challenge to the Act was fought — and
lost — over seventy years ago when the Supreme Court decided
Humphrey’s Executor.” 537 F.3d 667, 685 (D.C. Cir. 2008). The
Supreme Court disagreed. Free Enterprise Fund v. PCAOB, 561
U.S. 477, 514 (2010) (“While we have sustained in certain cases
limits on the President’s removal power, the Act before us imposes
a new type of restriction — two levels of protection from removal
for those who nonetheless exercise significant executive power.
Congress cannot limit the President’s authority in this way.”).
2
  Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2197 (2020).
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Court has repeatedly told the courts of appeals to follow extant
Supreme Court precedent unless and until that Court itself
changes it or overturns it.” Each of us recognizes that a lower
court cannot overrule Humphrey’s Executor. We simply
disagree about how broadly to read it.
